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                                        ORDERED.


         Dated: May 13, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

In re:                                                    Case No. 8:18-bk-09090-MGW
                                                          Chapter 7
Matthew Francis Bartolomeo
Olga Bartolomeo,

      Debtor(s).
_______________________________/

   ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
     REAL ESTATE SERVICES AND HUNT REALTY GROUP TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                 Upon the Notice and Application of Christine Herendeen, the trustee in the above-

captioned case (“Trustee”), to Retain BK Global Real Estate Services (BKRES) and Al Carapella

of Hunt Realty Group (Listing Agent) to Procure Consented Public Sale pursuant to 11 U.S.C. §

§ 327, 328 and 330 (“Application”) [Docket No. 43], the Court having reviewed and considered

the Notice, Application and the Affidavit of Disinterestedness and having found good and

sufficient cause appearing therefore and the same to be in the best interest of Debtor and the

creditors the Court hereby FINDS that:

             A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).
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          B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.
      §§ 1408 and 1409.

          C. Notice of the Application was sufficient under the circumstances.

                Based upon the foregoing findings of fact, it is hereby
                ORDERED, ADJUDGED, AND DECREED that:
         1.     The Application is hereby GRANTED.

         2.     Defined terms not otherwise defined herein have the meanings given to them in
the Application and the Affidavit.

         3.     The Trustee is authorized to retain and compensate BKRES and local licensed
Listing Agent to provide the necessary professional assistance and representation required
by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure
Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7
case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules
2014 and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement,
the Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise
share their fees with any other person or entity.

         4.     BKRES and Listing Agent are disinterested persons within the meaning of
Bankruptcy Code Section 101(14).

         5.     BKRES and Listing Agent shall be compensated in accordance with the BKRES
Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be
subject to challenge except under the standard of review set forth in Section 330 of the
Bankruptcy Code.

         6.     BKRES and Listing Agent shall be authorized to receive and retain their fees
from Secured Creditor at the successful closing of the sale of the Property without necessity of
further order of the Court. The estate shall, in no circumstance, be obligated to compensate
BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim
against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,
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through or under either of them, shall only have recourse for recovering its fee to Secured
Creditor. The estate shall have no liability for any such claim.

         7.     Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to
provide reasonable and necessary property preservation, maintenance, and upkeep services to the
subject estate Property to facilitate the sale of the Property for the benefit of the Secured
Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a maximum amount not to
exceed $500.00 for the approved reasonable, necessary costs and expenses of preserving, or
disposing of, the subject Property, without the need for further Order.

         8.     Notice of the Application was adequate and proper.

         9.     This Court shall retain jurisdiction to hear and determine all matters arising from
or related to the implementation of this Order.


(Christine Herendeen shall serve a copy of the signed Order on all interested parties and file with
the Court a certificate of service conforming with Local Rule).
